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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WISCONSIN


SCOTT SMITH,
                                                  Case No. _______________
              Plaintiff,

v.
                                                             COMPLAINT
RFCK, INC.; and RFCK OF RIVER
FALLS, LLC,                                             Injunctive Relief Sought

              Defendants.



       Plaintiff Scott Smith, by and through the undersigned counsel, brings this action
against Defendants RFCK, Inc., a Wisconsin corporation, and RFCK of River Falls, LLC,
a Wisconsin limited liability company, for violations of the Americans With Disabilities
Act, 42 U.S.C. § 12181, et seq. (the “ADA”) and its implementing regulations and alleges
as follows:

                                   INTRODUCTION

       1.     Plaintiff brings this civil rights action against Defendants for failing to de-
sign, construct, and/or own or operate facilities that are fully accessible to, and inde-
pendently usable by, persons with disabilities.
       2.     Defendants own the restaurant and bar known as “Copper Kettle”. To the
extent it was constructed and first occupied after January 26, 1993 or was altered after
January 26, 1993, “Copper Kettle” was required to be designed and constructed to be
readily accessible to persons with disabilities. To the extent “Copper Kettle” was not con-
structed or altered before January 26, 1993, it was required to remove barriers to access



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to the extent barrier removal was readily achievable. Defendants failed to remove archi-
tectural barriers at the restaurant and bar known as “Copper Kettle”.
       3.     The violations alleged in this complaint occurred at “Copper Kettle”, locat-
ed at 1005 S Main St, River Falls, WI 54022.
       4.     Defendants’ failure to provide equal access to “Copper Kettle” violates the
mandates of the ADA to provide full and equal enjoyment of a public accommodation’s
goods, services, facilities, privileges, and advantages.
       5.     Defendants’ conduct constitutes an ongoing and continuous violation of the
law.
       6.     Accordingly, Plaintiff seeks a declaration that Defendants’ facilities violate
federal law and an injunction requiring Defendants to make modifications to the facilities
so that they are fully accessible to, and independently usable by, individuals with disabili-
ties. Plaintiff further requests that the Court retain jurisdiction over this matter for a peri-
od to be determined to ensure that Defendants continue to comply with the relevant
requirements of the ADA.

                            JURISDICTION AND VENUE

       7.     Jurisdiction of this Court arises under 28 U.S.C. §§ 1331 and 1343(a)(3).
This action includes federal law claims brought pursuant to Title III of the Americans
with Disabilities Act, 42 U.S.C. §§ 12181–12189. The Court has the jurisdiction to is-sue
a declaratory judgment pursuant to 28 U.S.C. § 2201 and Fed R. Civ. P. 57
       8.     Venue in this judicial district is proper because Defendants are located and
transacts business within this judicial district and has sufficient contacts to be subject to
personal jurisdiction in this judicial district, and because this is the judicial district in
which the acts and omissions giving rise to the claims occurred.



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                                        PARTIES

       9.     Plaintiff Scott Smith is a resident of the city of Burnsville, Minnesota.
Plaintiff Smith suffers from, and all times relevant hereto has suffered from, a legal disa-
bility as defined by the ADA, 42 U.S.C. § 12102(2). Plaintiff is therefore a member of a
protected class under the ADA, under the regulations implementing the ADA set forth at
28 C.F.R. § 36.101 et seq.
       10.    Mr. Smith suffers from arthrogryposis, a rare and disabling congenital joint
contracture that for Mr. Smith results in muscle weakness and an inability to stand or
walk. Mr. Smith uses a wheelchair for mobility. As a person with a disability, Mr. Smith
has a personal interest in having full and equal access to places of public accommodation
and to the goods, services, facilities, privileges, advantages or other things offered there-
in.
       11.    Defendant RFCK, Inc., a Wisconsin corporation; and RFCK of River Falls,
LLC, a Wisconsin limited liability company, are the co-owners of the real property and
improvements which are the subject of this action, the restaurant and bar known as “Cop-
per Kettle”, a place of public accommodation within the meaning of the ADA, located at
the street address of 1005 S Main St, River Falls, WI 54022.

                             FACTUAL BACKGROUND

       12.    On November 15, 2018 Plaintiff Smith attempted to visit the restaurant and
bar “Copper Kettle” in River Falls, Wisconsin.
       13.    The “Copper Kettle” customer parking lot had approximately 45 total park-
ing spaces on Plaintiff’s November 15, 2018 visit and 1 parking space reserved as an ac-
cessible parking space.
       14.    The 1 parking space reserved as an accessible parking space lacked an ad-
jacent access aisle.
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       15.    The 1 parking space reserved as an accessible parking space was reserved
through signage posted low to the ground.
       16.    Plaintiff found 0 van accessible parking spaces in the “Copper Kettle” cus-
tomer parking lot.
       17.    The ramp providing access to the entrance of the “Copper Kettle” from the
customer parking lot was partially obstructed by a brick wall.
       18.    Photographs in Exhibit A to this Complaint depict the “Copper Kettle” cus-
tomer parking lot and ramp during Plaintiff’s November 15, 2018 visit.
       19.    Plaintiff lives in Burnsville, Minnesota. He frequently travels throughout
Minnesota and western Wisconsin, including River Falls. He attempted to patronize
“Copper Kettle”, but was deterred, due to the lack of accessible parking.
       20.    In light of the architectural barriers at “Copper Kettle”, Plaintiff is deterred
from visiting “Copper Kettle” in the future. Plaintiff would like to be able to patronize
“Copper Kettle”, but these architectural barriers deter him from doing so. He plans to re-
turn and patronize “Copper Kettle” when he learns that the premises have been made ful-
ly accessible to persons who use wheelchairs for mobility.
       21.    Plaintiff attempted to access Defendants’ premises but could not do so in-
dependently on a full and equal basis because of his disabilities, due to the physical barri-
ers to access and violations of the ADA that exist at Defendants’ premises. As a result of
Defendants’ non-compliance with the ADA, Plaintiff cannot independently access the
facilities and/or is excluded from full and equal enjoyment of the goods, services, privi-
leges, advantages, and/or accommodations offered therein.


                 THE ADA AND ITS IMPLEMENTING REGULATIONS




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       22.      On July 26, 1990, President George H.W. Bush signed into law the ADA,
42 U.S.C. § 12101, et seq., a comprehensive civil rights law prohibiting discrimination on
the basis of disability. In its findings, Congress determined that, among other things:
             a. Some 43 million Americans have one or more physical or mental disabili-
                ties, and this number is increasing as the population as a whole grows older;
             b. Historically, society has tended to isolate and segregate individuals with
                disabilities, and, despite some improvements, discrimination against indi-
                viduals with disabilities continues to be a serious and pervasive social prob-
                lem;
             c. Discrimination against individuals with disabilities persists in such critical
                areas as employment, public housing accommodations, education, transpor-
                tation, communication, recreation, institutionalization, health services, vot-
                ing, and access to public services;
             d. Individuals with disabilities continually encounter various forms of dis-
                crimination; and
             e. The continuing existence of unfair and unnecessary discrimination and
                prejudice denies people with disabilities the opportunity to compete on an
                equal basis and to pursue those opportunities for which our society is justly
                famous, and costs the United States billions of dollars in unnecessary ex-
                penses resulting from dependency and nonproductivity.

42 U.S.C. § 12101(a)(1)–(3), (5), (9).
      23.    Congress explicitly stated that the purpose of the ADA was to:
             a. Provide a clear and comprehensive mandate for the elimination of discrimi-
                nation against individuals with disabilities;




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             b. Provide clear, strong, consistent, enforceable standards addressing discrim-
                ination against individuals with disabilities; and
             c. Invoke the sweep of congressional authority, including the power to en-
                force the Fourteenth Amendment and to regulate commerce, in order to ad-
                dress the major areas of discrimination faced day-to-day by individuals
                with disabilities.

42 U.S.C. § 12101(b)(1), (2), (4).

       24.      Title III of the ADA prohibits discrimination in the activities and facilities
of places of public accommodation, and requires places of public accommodation to
comply with ADA standards and to be readily accessible to, and independently usable by,
individuals with disabilities. 42 U.S.C. § 12181–89.
       25.      The ADA provided places of public accommodation one and one half years
from its enactment to implement its requirements. The effective date of Title III of the
ADA was January 26, 1992 (or January 26, 1993 if a business had 10 or fewer employees
and gross receipts of $500,000 or less). 42 U.S.C. § 2181; 28 C.F.R. § 36.508(a).
       26.      Pursuant to the mandates of 42 U.S.C. § 12134(a), the Department of Jus-
tice (“DOJ”) promulgated federal regulations to implement the requirements of Title III
of the ADA, which are codified at 28 C.F.R. Part 36. Appendix A of the 1991 Title III
regulations (republished as Appendix D to 28 C.F.R. Part 36) contains the ADA Stand-
ards for Accessible Design, which were based upon the ADA Accessibility Guidelines
(“1991 ADAAG”) published by the Access Board on the same date. Public accommoda-
tions were required to conform to these regulations by January 26, 1992 (or January 26,
1993 if a business had 10 or fewer employees and gross receipts of $500,000 or less). 42
U.S.C. § 12181, et seq.; 28 C.F.R. § 36.508(a).



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       27.    In 1994, the Access Board began the process of updating the 1991 ADAAG
by establishing a committee composed of members of the design and construction indus-
tries, the building code community, and State and local government entities, as well as
individuals with disabilities.
       28.    In 1999, based largely upon the report and recommendations of the adviso-
ry committee, the Access Board issued a notice of proposed rulemaking to update and
revise the 1991 ADAAG.
       29.    The Access Board issued final publication of revisions to the 1991
ADAAG on July 3, 2004.
       30.    On September 30, 2004, the DOJ issued an advance notice of proposed
rulemaking to begin the process of adopting the 2004 ADAAG revisions.
       31.    On June 17, 2008, the DOJ published a notice of proposed rulemaking cov-
ering Title III of the ADA.
       32.    The extended process of revising the 1991 ADAAG culminated with the
DOJ’s issuance of the 2010 Standards for Accessible Design (“2010 Standards”). The
2010 Standards incorporated the revised 2004 ADA Accessibility Guidelines
(“ADAAG”), as well as the requirements contained in subpart D of 28 C.F.R. Part 36.
The DOJ published the Final Rule detailing the 2010 Standards on September 15, 2010.
The 2010 Standards became effective on March 15, 2011.

                                 FACTUAL ALLEGATIONS

       33.    Defendants have discriminated against Plaintiff on the basis of his disabili-
ties by failing to comply with the requirements of the ADA and the ADAAG with regard
to “Copper Kettle”. A specific, though not exclusive, list of unlawful physical barriers
and ADA violations present at “Copper Kettle” which limit the ability of persons in
wheelchairs to access the facilities and/or to enjoy the goods, services, privileges, ad-

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vantages and/or accommodations offered therein on a full and equal basis, includes the
following:
         a. The “Copper Kettle” customer parking lot had approximately 45 total park-
             ing spaces in the customer parking lot and had 1 parking space reserved as
             an accessible parking space, but had 0 parking spaces complying with
             ADAAG 502, instead of the 2 required by the scoping requirements of
             ADAAG 208.2. Plaintiff requires accessible parking spaces which comply
             with all elements of 502 (including location, width, length, signage, slope,
             and presence of an access aisle) to ensure he can park safely, make a safe
             transfer between his vehicle and the parking lot, and travel safely between
             the parking lot to the building entrance.
         b. The 1 parking space reserved as an accessible parking space in the “Copper
             Kettle” customer parking lot was reserved with a sign situated lower than
             60 inches above the surface of the parking space, in violation of ADAAG
             216.5 and 502.6. Failure to post signs reserving accessible parking spaces
             or failure to post signs at an appropriate height makes it difficult to find ac-
             cessible parking, creates the risk of someone inadvertently parking in the
             parking space, and hampers the ability of law enforcement to enforce park-
             ing laws and regulations.
         c. The 1 parking space reserved as an accessible parking space lacked an ad-
             jacent access aisle, in violation of ADAAG 502.2. Plaintiff requires an ac-
             cess aisle to make a safe transfer between his vehicle and the customer
             parking lot.
         d. The ramp providing access to the entrance of “Copper Kettle” from the cus-
             tomer parking lot was partially obstructed by a protruding brick wall, re-


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                ducing the clear width of the ramp to less than 36 inches, in violation of
                ADAAG 405.5. Plaintiff requires sufficient space to navigate in his wheel-
                chair, particularly on ramps.
             e. Due to the insufficient space provided, the parking space reserved as acces-
                sible in the “Copper Kettle” customer parking lot was not located on an ac-
                cessible route to the entrance, in violation of ADAAG 208.3.1.
             f. The “Copper Kettle” customer parking lot had 0 parking spaces reserved as
                van parking spaces rather than the required 1, in violation of ADAAG
                208.2.4.
       34.      The above listing is not to be considered all-inclusive of the barriers and
violations of the ADA encountered by Plaintiff or which exist at “Copper Kettle”. To
qualify as an accessible parking structure, and for a parking space to qualify an accessible
parking space, the space must be located on an accessible route, the route must be the
shortest accessible route, the space must be marked by appropriate signage, the space
must be flanked by an access aisle, and the space and access aisle must comply with slop-
ing requirements. ADAAG 206; 208; 216, Chapter 4 including but not limited to 402,
403, 404, 405, and 406; and 502 – including, but not limited to, 502.4 which governs the
floor or ground surfaces of both parking spaces and access aisles.
       35.      In order to fully remedy the discriminatory conditions, Plaintiff requires an
inspection of “Copper Kettle” in order to photograph and measure all such barriers to ac-
cess and violations of the ADA and ADAAG.
       36.      Compliance with the ADA standards, and the ADAAG is required by 42
U.S.C §§ 12182 and 12183 to the extent the facility was designed and constructed, or al-
tered, after January 26, 1993, and the violations to the ADAAG requirements are not a
result of compliance being structurally impracticable. 28 C.F.R § 36.401(a)(1).


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         37.   In the alternative, to the extent any architectural elements were constructed
prior to that date, compliance with the ADA standards and the ADAAG is required by 42
U.S.C § 12182(b)(2)(A)(iv) because removal of architectural barriers is readily achieva-
ble. Compliance with the ADA standards and the ADAAG is readily achievable by De-
fendants due to the lack of difficulty and low cost of remedying the above-listed barriers.
Some of the above-listed violations can be remedied through the same measures pre-
scribed by federal regulation as examples of modifications that are “readily achievable”,
including, but not limited to, creating accessible parking spaces. 28 C.F.R. § 36.304(b).
         38.   Compliance is also readily achievable due to the significant assistance
available to businesses. Section 44 of the IRS Code allows a Disabled Access tax credit
for small businesses with 30 or fewer full-time employees or with total revenues of $1
million or less, which is intended to offset the cost of undertaking barrier removal and
alterations to improve accessibility. Section 190 of the IRS Code provides a tax deduction
for businesses of all sizes for costs incurred in removing architectural barriers, up to
$15,000.       See     ADA       Update:      A      Primer      for     Small      Business,
http://www.ada.gov/regs2010/smallbusiness/smallbusprimer2010.htm#tax             (Mar.    16,
2011).
         39.   As a person with a disability, Plaintiff has a personal interest in having full
and equal access to places of public accommodation and to the goods, services, facilities,
privileges, advantages or other things offered therein.
         40.   Without injunctive relief, Defendants’ failure to remove accessibility barri-
ers will continue to cause injury to Plaintiff, who will continue to be deterred from pat-
ronizing the facility and will continue to be unable to independently access “Copper
Kettle” and/or to enjoy the goods, services, privileges, advantages and/or accommoda-
tions offered therein on a full and equal basis, in violation of his rights under the ADA.


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                            FIRST CAUSE OF ACTION
       Violations of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq.

         41.   Plaintiff incorporates and realleges the above paragraphs.
         42.   Section 302(a) of Title III of the ADA, 42 U.S.C. §§ 12101 et seq., pro-
vides:

               No individual shall be discriminated against on the basis of
               disability in the full and equal enjoyment of the goods, ser-
               vices, facilities, privileges, advantages, or accommodations of
               any place of public accommodation by any person who owns,
               leases (or leases to), or operates a place of public accommo-
               dation.

         43.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimina-
tion to deny individuals with disabilities an opportunity to participate in or benefit from
the goods, services, facilities, privileges, advantages, or accommodations that is equal to
the opportunities afforded to other individuals.
         44.   Defendants have discriminated against Plaintiff and others in that they
failed to make their place of public accommodation fully accessible to persons with disa-
bilities on a full and equal basis in violation of 42 U.S.C. § 12182(a) and the regulations
promulgated thereunder, including the ADAAG, as described above. Plaintiff has been
denied full and equal access to “Copper Kettle” and/or has been denied the opportunity to
participate in or benefit from the goods, services, facilities, privileges, advantages, or ac-
commodations on a full and equal basis.
         45.   Defendants have failed to take any prompt and equitable steps to remedy
their discriminatory conduct. Defendants’ violations of the ADA and ADAAG are ongo-
ing.




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       46.      Defendants have failed to remove architectural barriers to full and equal ac-
cess by Plaintiff, even though removing the barriers was required and is readily achieva-
ble.
       47.      Plaintiff plans to visit “Copper Kettle” again in the near future. Plaintiff is
without adequate remedy at law, has suffered and is suffering irreparable harm, and rea-
sonably anticipates that he will continue to suffer irreparable harm upon his planned re-
turn visit to “Copper Kettle” unless and until Defendants are required to remove the
physical barriers to access and ADA violations that exist at Defendants’ place of public
accommodation, including those set forth specifically herein.
       48.      This Court has authority under 42 U.S.C. § 12188 to grant Plaintiff injunc-
tive relief, including an order requiring Defendants to make “Copper Kettle” readily ac-
cessible to and independently usable by individuals with disabilities to the extent required
by the ADA and ADAAG, and/or to close “Copper Kettle” until such time as Defendants
cure the access barriers.
       49.      Plaintiff has retained the undersigned counsel for the filing and prosecution
of this action, and is entitled to recover reasonable attorneys’ fees, litigation expenses and
costs from Defendants, pursuant to 42 U.S.C. §§ 12205, 12117, and 28 C.F.R. § 36.505.

WHEREFORE, Plaintiff respectfully requests:

             a. That the Court issue a Declaratory Judgment that determines that Defend-
                ants’ facilities, at the commencement of the instant suit, are in violation of
                Title III of the ADA, 42 U.S.C. § 12181, et seq., and the relevant imple-
                menting regulations including the ADAAG.
             b. That the Court award nominal damages.




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        c. That the Court issue a permanent injunction, pursuant to 42 U.S.C.
           § 12188(a)(2), and 28 C.F.R. § 36.504(a), enjoining Defendants from con-
           tinuing their discriminatory practices; including an order directing Defend-
           ants to remove all barriers to the maximum extent feasible or in the
           alternative make all readily achievable alterations to their facilities so as to
           remove physical barriers to access and make their facilities fully accessible
           to and independently usable by individuals with disabilities to the extent
           required by the ADA; and also including an order requiring Defendants to
           make all reasonable modifications in policies, practices or procedures nec-
           essary to afford all offered goods, services, facilities, privileges, advantages
           or accommodations to individuals with disabilities on a full and equal basis.
        d. That the Court award Plaintiff his reasonable attorneys’ fees, litigation ex-
           penses, and costs of suit pursuant to 42 U.S.C. § 12205, 28 C.F.R. § 36.505
           or as otherwise provided by law; and
        e. That the Court issue such other relief as it deems just and proper, and/or is
           allowable under Title III of the ADA.

DATED: February 28, 2019

                                        /s/ Padraigin L. Browne
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                               ACKNOWLEDGMENT

       Pursuant to Minn. Stat. § 549.211, the undersigned hereby acknowledges that
monetary and other sanctions may be imposed for presenting a position to the Court that
is unwarranted or for an improper purpose, as more fully defined in that statute.




Date: February 28, 2019




                                          By:
                                                    Padraigin L. Browne (MN Bar #389962)




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